AO 245C                 Case
                (Rev. 09/11)   2:10-cr-00585-JCM-BNW
                             Amended Judgment in a Criminal Case        Document 94              Filed 03/06/12(NOTE:
                                                                                                                   Page     1 Changes
                                                                                                                      Identify of 9 with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                       Nevada
           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                JORGE MONTES                                                        Case Number:   2:10-cr-585-RLH-PAL-1
          aka: "Jaime", aka: "Camotes"                                              USM Number:    45580-048
Date of Original Judgment: March 2, 2012                                            MICHAEL KIMBRELL
(Or Date of Last Amended Judgment)                                                  Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                    G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                      G 18 U.S.C. § 3559(c)(7)
                                                                                    G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) Ten of the Indictment
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                              Offense Ended                  Count

21 USC § 841(a)(1)(A)(iii)           Distribution of a Controlled Substance                                           1/27/2010                       10



       The defendant is sentenced as provided in pages 2                        6              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)        All Remaining Counts           G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                    March 2, 2012
                                                                                    Date of Imposition of Judgment


                                                                                    Signature of Judge
                                                                                    ROGER L. HUNT, UNITED STATES DISTRICT JUDGE
                                                                                    Name and Title of Judge
                                                                                    March 6, 2012
                                                                                    Date
AO 245C        Case
             (Rev.     2:10-cr-00585-JCM-BNW
                   09/11)                                 Document 94
                          Amended Judgment in a Criminal Case                          Filed 03/06/12        Page 2 of 9
             Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks
                                                                                                  Judgment — Page          2   of     6
DEFENDANT:                 JORGE MONTES
CASE NUMBER:               2:10-cr-585-RLH-PAL-1

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :   70 MONTHS




X      The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends the Defendant be permitted to serve his term of incarceration in the Taft facility, the Lompac
       facility, or the Terminal Island facility (listed in order of recommended preference).



X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.       on                                      .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                          to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C          Case
               (Rev.     2:10-cr-00585-JCM-BNW
                     09/11)                                 Document 94
                            Amended Judgment in a Criminal Case                         Filed 03/06/12          Page 3 of 9
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page          3     of         6
DEFENDANT:                 JORGE MONTES
CASE NUMBER:               2:10-cr-585-RLH-PAL-1
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        5 YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
AO 245C   (Rev. Case    2:10-cr-00585-JCM-BNW
                09/11) Amended Judgment in a Criminal Case   Document 94   Filed 03/06/12    Page 4 of 9
          Sheet 3C — Supervised Release                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                      Judgment—Page       4      of         6
DEFENDANT:              JORGE MONTES
CASE NUMBER:            2:10-cr-585-RLH-PAL-1

                                    SPECIAL CONDITIONS OF SUPERVISION


1) The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or other
dangerous weapons, as defined by Federal, state or local law.
2) The defendant shall submit to the search of his person, property, residence, or automobile under his control by
the Probation Officer, or any other authorized person under the immediate and personal supervision of the
Probation Officer without a search warrant to ensure compliance with all conditions of release.
3) If deported, the defendant shall not reenter the United States without legal authorization.
4) The defendant shall use his true name at all times and will be prohibited from the use of any aliases, false date of
birth, social security numbers, places of birth, and any other pertinent demographic information.
5) If not deported, the defendant shall report in person to the Probation Office in the District to which he is released
within 72 hours of discharge from custody.



Note: A written copy of the conditions of release (in English and Spanish) was provided to the Defendant by the
Probation Officer in open Court at the time of sentencing.
                Case 2:10-cr-00585-JCM-BNW                       Document 94           Filed 03/06/12          Page 5 of 9
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page      5         of         6
DEFENDANT:                       JORGE MONTES
CASE NUMBER:                     2:10-cr-585-RLH-PAL-1
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                               Restitution
TOTALS           $ 100.00                                        $    WAIVED                          $ N/A


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                               Total Loss*                        Restitution Ordered                  Priority or Percentage




TOTALS                             $                                       $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine       G restitution.
     G the interest requirement for the         G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO          (Rev.Case
                  09/11)2:10-cr-00585-JCM-BNW            Document 94
                        Amended Judgment in a Criminal Case                              Filed 03/06/12          Page 6 of 9
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of        6
DEFENDANT:                 JORGE MONTES
CASE NUMBER:               2:10-cr-585-RLH-PAL-1

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00               due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G D,      G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     *(See Attached Preliminary and Final Orders of Forfeiture)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
              Case
               Case2:10-cr-00585-JCM-BNW
                     2:10-cr-00585-RLH -PAL Document
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          6                                UNITED STATES DISTRICT CO URT
          7                                       D ISTR ICT O F N EV A DA

          8 UNITED STATESOFAM ERICA,                           )
                                                               )
          9                          Plaintiff,                )
                                                               )
         10            v,                                      )           2:10-CR-585-RLH (PM ,)
                                                               )
         11 JORGE MONTES,                                      )
             a.k.a.Jaime,a.k.a.Camotes,                        )
         12                                                    )
           .
                                 Defendant.                    )
         13
         1491                                     O RDER OF FORFEITURE
         15            On October21,2011,defendantJORGE M ONTES,a.k.a.Jaim e,a.k.a.Cam otes,pledguilty
         16     toCotmtTenofaSeventeen-cotmtCrim inalIndictm entcharginghim inCountrfenwithDistribution

         17 ofaControlledSubstanceinviolationofTitle21,UnitedStatesCode,Section841(a)(1)andagreed
         18     to the forfeitm e ofproperty set.forth in the Forfeiture Allegation in the CriminalIndictmentand
         19     agreed to in thePleaM emorandum .
         20            ThisCourtfindsthatJORGE MONTES,mk.a.Jaime,a.ki.Camotesshallpayacriminal                           !
         21 forfeittu.emoneyjudgmentof$9,400.00 inUnitedStatesCurrencytotheUnitedStatesofAmerica,                        j
                                                                                                                         !
         22 pursuanttoFed.R.Crim.P.32,2(b)(1)and(2)andTitle21,UnitedStatesCode,Section853(a)(1).                         :
         23
         24     ...
         25     ...
         26     ...
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        Case
         Case2:10-cr-00585-JCM-BNW
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    (
               THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DFf u ED thattlw united
         States recoverfrom JORGE M ONTES,a.k.a.Jaime,a.k.a.Cam otes a criminalforfeiture m oney'
         judgmentintheamountof$9,400.00in United StatesCurrency.


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                              i                        ,2011.

                                                       D ST TES DISTRICT JUDGE




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              Case
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                                        D ISTR ICT O F NEV A DA
     7
           UNITED STATES OF AM ERICA,                           )
     8                                                          )
                            Plaintiff,                          )
     9                                                          )
                v.                                              )         2:10-CR-585-RLH (PAL)
    10                                                          )
       JORGE MONTES,                                            )
    11 a,k.a.Jaime,a,k.a.Camotes,                               )
                                                                )
    l2                      Detkndant.                          )
    13                                   O RD ER O F FO RFEITU RE
    14         ThisCourtfound on October21,201l,thatJORGE M ONTES,avk.a.Jaime,a.k.a.Cam otes,

    15 shallpayacriminalforfeituremoneyjudgmentof$9,400.00inUnitedStatesCurrency,pursuantto
    16 Fed.R.Crim.P.32.2(b)(1)and(2)4andTitle21,United StatesCode,Section853(a)(l). Docket
    l7 //78,//79,#80.

    18         THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thattheUnitcd
    19 Statesrecoverfrom JORGE M ONTES,a.k.a.Jaime,a.k.a.Camotes,a crim inalforfeiture money

    20 judgmentin the amountof$9,400.00 in United StatesCurrency pursuantto Fed.R.Crim.P,
    21 32.2(b)(4)(A)and (B);andTitle21,UnitedStatesCode,Section 853(a)(1).
    22         DA TED this (;X   dayof           X'
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